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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                              May 19, 2025
                        IN THE UNITED STATES DISTRICT COURT                Nathan Ochsner, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION
LANDSCAPE CONSULTANTS                       §
OF TEXAS, INC., AND                         §
METROPOLITAN LANDSCAPE                      §
MANAGEMENT, INC.,                           §
                                            §
          Plaintiffs,                       §
                                            §
 V.                                         § Civil Action No. H-23-3516
                                            §
 CITY OF HOUSTON, TEXAS, AND                §
 MIDTOWN MANAGEMENT                         §
 DISTRICT,                                  §
                                            §
          Defendants.                       §
                                            §
                                       ORDER
      Pending before the Court is the Parties Joint Notice of an Agreed Briefing

Schedule (Document No. 103). Having considered the notice, submissions, and. •

applicable law, the Court finds the notice satisfactory. Accordingly, the Court hereby

      ORDERS that the Parties Joint Notice of an Agreed Briefing Schedule

(Document No; 103) is APPROVED. The Court further

      ORDERS that Defendant City of Houston file a motion addressing the

consequences of the Houston City Council's May 7, 2025, adoption of a new

ordinance, and its impact on the pending case, on or before May 23, 2025. The Court

further
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      ORDERS that Plaintiffs file a response to the aforementioned motion on or

before June 13, 2025. The Court further

      ORDERS that the City of Houston must reply to the Plaintiffs' response to

tlieir motion on or before June 20, 2025.

      SIGNED at Houston, Texas, on this l!__ day of May, 2025.




                                                DAVID HITTNER
                                                United States District Judge




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